        Case 5:17-cv-00745-OLG Document 15 Filed 11/13/18 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

MARK A. DIAZ AND MELISSA DIAZ                       §
    Plaintiff,                                      §
                                                    §   Civil Action No. 5: 17-cv-745-rg
v.                                                  §
                                                    §
US BANK NATIONAL ASSOCIATION,                       §
ITS SUCCESSOR IN INTEREST OR                        §
ASSIGNS AND ITS APPOINTED                           §
SUBSTITUTE TRUST                                    §
      Defendants.                                   §

                  AGREED CONSENT JUDGMENT AND WRIT OF POSSESSION

           Pursuant to the terms and conditions of the Settlement Agreement and Release

("Agreement") entered into between U.S. Bank Trust, N.A. ("US Bank") and Mark A. Diaz and
                                                           30th1
Melissa Diaz ("Diaz")(collectively "the Parties") on the           day ofNovember, 2018, Diaz agrees to

vacate the real property located at 4823 Shade Creek, San Antonio, Texas 78238 (the "Property")and

more particularly described as follows:

           LOT 32, BLOCK 13, NEW CITY BLOCK 18633, TWIN CREEK, UNIT 3 IN
           THE CITY OF SAN ANTONIO, BEXAR COUNTY, TEXAS, ACCORDING
           TO THE PLAT THEREOF RECORDED IN VOLUME 7300, PAGE(S) 209-
           210, DEED AND FLAT RECORDS OF BEXAR COUNTY, TEXAS.

on the 28th day of November, 2018.

           In the event Diaz does not vacate the Property by that date, US Bank shall be entitled to a

Writ of Possession issued in accordance with Texas Rule of Civil Procedure 310. Diaz hereby waive

any right to contest such eviction, and waives any right to any notice or court hearing in connection

with any eviction proceeding prior to the issuance and/or execution of a Writ of Possession.

           If any person occupying the Property fails to surrender possession of the premises by

Agreed Consent Judgment and Writ of Possession                                                   Page   1
BDF #   00000006959860 (Diaz)
       Case 5:17-cv-00745-OLG Document 15 Filed 11/13/18 Page 2 of 2




November 28, 2018, US Bank, or its successors or assigns, shall be entitled to a Writ of Possession

issued in accordance with Texas Rule of Civil Procedure 310. Diaz hereby waive any right to any

notice or court hearing in connection with any eviction proceeding, prior to the issuance andlor

execution of a Writ of Possession.
                                                 tsvlO   'tI
          SO ORDERED this              dayof


                                         PRESD                            I


CONSENTED TO:

BARRETT DAFFIN FRAPPIER
TURNER & ENGEL, LLP

By: Is/Crystal G. Gibson                                       Date:   11/01/2018
    Crystal G. Gibson
    State Bar No. 24027322
    4004 Belt Line Rd., Suite 100
    Addison, TX 75001
    Email: CrystalR@BDFgroup.com
ATTORNEY FOR US BANK, N.A.


MCKINIGHT & BRA VENEC


Is! Edward Bravenec                                            Date:   11/01/2018
Edward Bravenec
State Bar No. 24012329
405 S. Presa St.
San Antonio, Texas 78205
(210) 223-4080
(210) 223-2449 (Facsimile)
braveknight@att.net
ATTORNEYS FOR PLAINTIFFS




Agreed Consent Judgment and Writ of Possession                                               Page 2
BDF   # 00000006959860 (Diaz)
